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              IN THE UNITED STATES DISTRICT C
                 NORTHERN DISTRICT OF GEORG                         JAN 2 6 2023
                        ATLANTA DIVISION

 KATHY MACAJOUX                                 ) JURY TRI
         Plaintiff,                             )
                                                )
v.                                              ) Case No. 1:22-cv-2588
                                                )
HEALTHCARE REVENUE                              )
RECOVERY GROUP, LLC d/b/a                       )
ACCOUNT RESOLUTION SERVICES.,                   )
        Defendant.                              )




                     DISMISSAL WITH PREJUDICE


COMES NOW Plaintiff, Kathy Macajoux and hereby dismisses this matter with
prejudice. All Parties shall bear their own costs.



        Date: January 26, 2023.

                                                         Respectfully submitted,

                                                        i:~     Kathy Macajoux
                                                            8363 Blackfoot Trail
                                                       Jonesboro, Georgia 30236
                                                                  (786)915-2060
                                                      Lundykathy63@gmail.com




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                         CERTIFICATE OF SERVICE

      I certify that a true copy of the foregoing was served electronically via email
and by USPS mail to:

Ernest H. Kohlmyer, III
2300 Maitland Center Parkway, Suite 100
Maitland, Florida 32751
Email: skohlmyer@shepardfirm.com


Date: January 26, 2023

                                                                      athy Macajoux




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